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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :      Case No. 21-cr-128 (RC)
                                               :
                                               :
MICHAEL POPE,                                  :
                                               :
                        Defendants.            :

                       JOINT STATUS REPORT AND REQUEST TO
                     EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT


         The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and Defendant, Michael Pope, by and through his counsel Bruce Searby, Esq.,

respectfully submit the following joint status report in compliance with the Court’s Minute Order

of November 4, 2022.

         At the October 6, 2022 status conference, the parties stated that they were exploring a

possible disposition in this matter. The Court scheduled a November 8 status conference and found

good cause to exclude the time within which a trial must commence between October 6, 2022 and

November 8, 2022 under the Speedy Trial Act. In a November 4 minute order, the Court directed

the parties to submit a joint status report in lieu of the November 8 status conference.

         At this time, the parties continue to explore whether the case can be resolved through a

plea agreement, and respectfully request that the Court schedule the next hearing for December 14

or December 15. By the next hearing, the parties anticipate being in position to inform the Court

as to whether the case will be resolved by plea agreement or whether the case should be scheduled

for trial.
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       The parties further request that the Court make a finding that it is in the interests of justice

that the time between November 8, 2021 (being the original hearing date) and the next status date

be excluded from the Speedy Trial Act calculation.



DATED: November 8, 2022                       MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY


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